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                          EXHIBIT 5
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           ---------- Forwarded message ---------
           From: Erik Radtke <erik@espireads.com>
           Date: Fri, Jul 14, 2017 at 12:17 PM
           Subject: Call follow up
           To: <j.dalrymple@anchorfree.com>, Trevor Laehy <t.laehy@anchorfree.com>
           Cc: Justin Emert <justin.e@espireads.com>


           Hey guys,

           I updated Jason on the transition, but I would like to get business rolling again. Instead of doing the CPI
           stuff that we were trying before, I think influencer videos would create great down stream performance.

           Here is how we do it. Influencers are notorious for overcharging. When companies that haven't done it
           before come to them, they sky rocket their rates. My team knows how to cut through the garbage and buy
           effectively. They are all influencers themselves, so they know the game.

           I want to work in a flat fee basis for you guys, with a guaranteed amount of impressions/views and content.
           We can start small and watch the downstream performance. If the model works, we can scale it. The
           videos would be created by the influencers to promote HotSpot. The video would tell their followers to go
           start a trail for the app.

           What kind of test budget would you like to start with for this idea? When I know your budget, I can tell you
           what to expect for impressions/views and how many unique videos we could have created.

           - Erik

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